                  Case 1:25-cv-00352-CJN                  Document 43           Filed 02/18/25          Page 1 of 2

                       IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA



American Foreign Service Association, et al.
                         Plaintiff(s)
                                                               vs.                        Case No: 1:25-cv-00352-CJN
Donald Trump, President of the United States of America, et
al.
                       Defendant(s)



                                           AFFIDAVIT OF SERVICE BY CERTIFIED MAIL

I, Scott Slatkin a Private Process Server, being duly sworn, depose and say, I have been duly authorized to make service of the documents
listed herein in the above entitled case, I am over the age of eighteen years and am not a party to or otherwise interested in this matter.

DOCUMENT(S): Summons; Notice of Right to Consent to Trial before a United States Magistrate Judge; Notice, Consent, and Reference of a
Civil Action to a Magistrate Judge; Complaint for Declaratory and Injunctive Relief; and Standing Order for Civil Cases

SERVE TO: Attorney General of the United States, U.S. Department of Justice

SERVICE ADDRESS: 950 Pennsylvania Avenue, NW, Washington, DC 20530

METHOD OF SERVICE: Per COVID-19 service of process protocol, service was completed by mailing a copy of the documents listed herein
to Attorney General of the United States, U.S. Department of Justice, 950 Pennsylvania Avenue, NW, Washington, DC 20530 on
02/12/2025 via United States Postal Service, Certified Mail, Return Receipt Requested. Article Number: 9589 0710 5270 0332 9587 31.

I solemnly affirm under the penalties of perjury that the contents of this document are true to the best of my knowledge, information,
and belief.

Executed on 02/13/2025




                                                                                                                                Scott Slatkin


                                                                                                      Client Ref Number: AFGE, et al. v. Trump
                                                                                                                             Job #:12698371




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